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                        UNITED STATES DISTRICT COURT

                                DISTRICT OF MAINE

 MATTHEW LAUZON,                                )
                           PLAINTIFF            )
                                                )
 V.                                             )
                                                )
 STEPHEN DODD, in his individual                )
 capacity; ROGER BEAUPRE, in his                )   CIVIL NO. 2:16-CV-51-DBH
 official capacity as Chief of Police for the   )
 Biddeford Police Department and in his         )
 individual capacity; AND CITY OF               )
 BIDDEFORD,                                     )
                                                )
                           DEFENDANTS           )
                                                )
                                                )
 LAWRENCE OUELLETTE,                            )
                                                )
                           PLAINTIFF            )
                                                )
 V.                                             )
                                                )
 NORMAN        GAUDETTE,        in   his        )   CIVIL NO. 2:16-CV-53-DBH
 individual       capacity;      ROGER          )
 BEAUPRE, in his official capacity as           )
 Chief of Police for the Biddeford Police       )
 Department and in his individual               )
 capacity; AND CITY OF BIDDEFORD,               )
                                                )
                           DEFENDANTS           )


      DECISION AND ORDER ON DEFENDANTS’ MOTIONS TO DISMISS


      These two cases involve allegations that Biddeford police officers violated

the plaintiffs’ civil rights under 42 U.S.C.A. § 1983 (2015), as well as related state

laws. I previously entered an order and concluded that, but for a First Circuit

decision that troubled me, Nieves v. McSweeney, 241 F.3d 46 (1st Cir. 2001), I

was not prepared to say that the statute of limitations had run on the plaintiffs’
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federal claims without a more developed record. See Dec. & Order on Pls.’ Mots.

to Am. Compl. & Order for Further Briefing on Defs.’ Mots. To Dismiss at 8-13

(ECF No. 41) (“Order”).     Before denying the defendants’ motions to dismiss,

however, I directed the parties to brief the significance of Nieves—a case where

the First Circuit stated—without elaborating—that because the district court had

properly determined that the 1983 claims against the individual police officers

were time-barred, the supervisory and municipal liability claims against the chief

and town “also must fail.” Nieves, 241 F.3d at 50. I asked the parties to address

whether I must follow Nieves and therefore dismiss the plaintiffs’ claims against

Chief Beaupre and the City of Biddeford because the plaintiffs have dismissed

their 1983 claims against the individual police officers, Dodd and Gaudette.

After full briefing, I am satisfied that Nieves is not controlling and therefore DENY

the defendants’ motions to dismiss.

      Specifically, I am persuaded that these two cases are not governed by

Nieves because the plaintiffs in Nieves did not rely on the federal discovery rule.

In Nieves, unlike here, the only date of accrual for the statute of limitations was

the date of arrest and police contact because the plaintiffs “had ample reason to

know of the injury then and there.” Id. at 52. In contrast, at this stage of the

litigation in these two cases, the record before me is still undeveloped (on motions

to dismiss, not on summary judgment as in Nieves), as to whether there was an

underlying constitutional violation (even if the individual police officers are

dismissed from the section 1983 claims), see Wilson v. Town of Mendon, 294

F.3d 1, 7 (1st Cir. 2002) (“There is [ ] nothing to prevent a plaintiff from foregoing


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the naming of an individual officer as a defendant and proceeding directly to trial

against the municipality.”). It is also undeveloped as to when the plaintiffs knew

or should have known, through the exercise of due diligence, that Chief Beaupre

and the City of Biddeford were the proximate cause of their injuries.          See

Armstrong v. Lamy, 938 F. Supp. 1018, 1033 (D. Mass. 1996); Order at 12.

      Thus, because Nieves does not control the issue, and for the reasons stated

in my previous order addressing the application of the federal discovery rule, see

Order at 8-14, the defendants’ motions to dismiss are DENIED. These cases shall

proceed in the normal course.

      SO ORDERED.

      DATED THIS 9TH DAY OF SEPTEMBER, 2016

                                             /S/ D. BROCK HORNBY______________
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE




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